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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE,
DR. ALICE WASHINGTON, STEVEN
HARRIS, ALEXIS CALHOUN, BLACK
VOTERS MATTER CAPACITY
BUILDING INSTITUTE, and THE
LOUISIANA STATE CONFERENCE OF
THE NAACP,                                      Civil Action No. 3:22-cv-00178
                                                SDD-SDJ
                           Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity
as Secretary of State of Louisiana,

                           Defendant.


                  PLAINTIFFS’ MOTION TO VACATE STAY

      Plaintiffs, Dr. Dorothy Nairne, Jarrett Lofton, Rev. Clee Earnest Lowe, Dr.

Alice Washington, Steven Harris, Alexis Calhoun, Black Voters Matter Capacity

Building Institute, and the Louisiana State Conference of the NAACP, by and

through undersigned counsel, move this court for an order vacating the stay of

proceedings granted on August 30, 2022.

      For the reasons stated in the accompanying memorandum in support,

Plaintiffs respectfully request that this Court grant the motion to vacate the stay of

proceedings. And for the reasons explained in Plaintiffs’ simultaneously-filed motion

for an expedited briefing schedule, Plaintiffs request that the Court resolve this

motion on an expedited basis.




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Date: June 9, 2023                       Respectfully submitted,

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                     **Pro Hac Vice Motion Forthcoming


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